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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA
Kari Lake, et al.,
Plaintiffs,
Vv.

Katie Hobbs, Arizona Secretary of State,
et al.,

No, 2:22-cv-00677-JJT

Defendants.

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Declaration of Douglas Logan

Pursuant to 28 U.S.C §1746, I, Douglas Logan, make the following

declaration.

1. Lam over the age of 21 years, and Iam under no legal disability which
would prevent me from giving this declaration.

2. I reside in Sarasota County, Florida.

3. I have over 18 years of experience generically within the Information
Technology discipline, and over 10 years of experience specifically focused
in Cyber Security in the area of Application Security.

4. I have held the certifications, Certified Information Systems Security
Professional (CISSP), GIAC Certified Incident Handler (GCIH), and GIAC
Web Application Penetration Tester (GWAPT).

5. I have developed cyber security programs and lead cyber security related
services for the federal government, as well as Fortune 500 companies
including JPMorgan Chase and Bank of America in areas including ethical

hacking, malicious code detection, code review, and threat modeling.

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6. I have authored training material in the areas of Web Application
Penetration Testing, and Mobile Penetration Testing and have taught
classes at Fortune 500 companies on these topics, in addition to teaching
these topics to hundreds of students in the US Cyber Challenge program.

7. I have served as the Chief Technologist for the US Cyber Challenge, where
I was responsible for helping design and manage a program to help
identify and grow the next generation of Cyber Security experts for the
United States.

8. I have personally overseen or conducted application vulnerability
assessments on over 2,000 software applications. These applications
represent all major industries, as well as the federal government and
include web, mobile, and embedded applications.

9. I have evaluated Dominion voting machine software deployments in
Antrim, Michigan, Maricopa County, Arizona, and Georgia. All versions of
the software utilized were substantially similar, with no easily discernable
visible differences between the versions of software utilized.

10. Iwas the primary author of the Maricopa County Election Audit
report! commissioned by the Arizona State Senate, which included voting
machine analysis and findings that I personally contributed.

11. Ihave worked with law enforcement related to election audit matters,
including helping present data to a judge to argue for the issuance of a
criminal search warrant.

12. Ihave talked with election workers across the country to determine

common problems encountered, and normal practices.

1 https://(www.azsenaterepublicans.com/audit

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18. Ihave worked with state politicians in multiple states to advocate
election reform and correct misconceptions about the security of electronic
voting machines.

14. My declaration highlights the long history of significant weaknesses in
voting machines in the United States that continues through today, and

the danger that using this technology poses.

Term Definitions & Background

> 6

15. In broad terms, “electronic voting machines’, “electronic voting

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systems’, “electronic election equipment” and “electronic election
management systems” refer to any computerized devices or equipment
utilized to cast, print, count, tabulate, process, and/or store ballot images
and/or election results. These are generically referred to within this
declaration as “voting machines”, the “election management system” or by
the vendor’s specific name for the device and defined within its context.

16. “Source code” or generically “code” refers to the human discernable
instructions written in a programming language by a programmer that,
when deployed as a “computer program”, “firmware” or “operating

system”, tells a computerized device, such as an electronic voting machine,

how to operate, “think” and process data.

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17. A “computer program”, or more generically a “program” is a distinct set
of computer instructions created from the source code that tells a
computerized device how to perform a given function or set of capabilities.
In the case of compiled programming languages, the “computer program”
is the output of running the source code through a compiler to change the
human discernable source code into a format which the computer can
more directly understand. That output is what is deployed on the
computerized system. In the case of interpretive programming languages,
the source code itself is the “computer program” and is deployed to the
computerized device and is translated to computer instructions at run-
time by another program called an “interpreter”. All “computer programs”
associated with “electronic voting machines” that ve seen have been from
compiled languages, and there is not any “source code” on the devices.

18. “firmware” or an “operating system” is a specialized “computer
program” designed to allow a computerized device to turn on, and
potentially run other “computer programs”.

19. “erroneous code” is “source code” which when run as a “computer
program” does not perform what could be reasonably be determined as the
expected behavior and intention of the program. This can be caused by a
“bug”, or due to “malicious code”.

20. <A “bug” is when a programmer makes one or more unintentional
mistakes when writing the “source code” which causes an adverse
behavior in the program. This could be because the programmer had a
typo, logic error, or otherwise failed to account for a situation that would

occur when the program was deployed and running.

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21. “malicious code” is “source code” purposely written to cause some
adverse behavior by a “malicious actor”. “Malicious code” can be inserted
into an otherwise legitimate program to make it a “malicious program” by
modifying the underlying “source code” or program; or it can exist as a
stand-alone “malicious program” on the computerized device.

22. A “malicious program” is a “computer program” that is created or
otherwise contains “malicious code”, and therefore performs some adverse
behavior. The “malicious program” can be written to cause the device to
perform tasks immediately, or at a conditional time in the future

23. A “malicious program” can perform any action that a computer
program on the computerized device has access to do. This includes, but is
not limited to, modifying other programs or data, deleting other programs
or data, preventing programs or the computerized device from working
properly, or exfiltrating data on the device. A “malicious program” can also
be written to delete traces it ever ran, including putting things back to the
state they were before it ran, or deleting itself.

24. A malicious program can be added to a computerized device directly by
a malicious actor who gains temporary access to the device; through a
legitimate program that has been made malicious before it was installed
on the computerized system; or through another malicious program that
accesses the system via a computer network, such as either a local

network or the internet, or storage media, such as a USB device.

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A “secure baseline” is a set of initial configurations for a computerized
device or application that defaults to a defined standard to protect the
confidentiality, integrity, and availability of the device. These typically
includes guidance for implementing all known best practices for the
technology including, but not limited to: password complexity, multi-factor
authentication, user account management, administrator account
management, log level, log management, log retention, patch
management, application run levels, and other secure configurations
including the disabling of features or functionality that could increase the
attack surface. There are a number of defined industry standard baselines
that are frequently used including, but not limited to the Center for
Internet Security (CIS) Benchmarks, the Defense Information Systems
Agency (DISA) Security Technology Implementation Guides (STIG), and
Microsoft Security Baselines.

There was no indication that any system I reviewed, which were
primarily Dominion systems, had implemented any known “secure

baseline”.

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While all aspects of a “secure baseline” are important for ensuring the
security of the device, log level, log management and log retention are
critical for “incident response”. A log is a file that records data about
access to or changes made to a computerized system, such as when files
were opened, changed, or deleted, and what user accessed the system to
view, change, or delete data. Key concepts for log management typically
implemented across all the baselines include increasing the default log
level so that critical actions are properly logged, configuring logs with
larger maximums before they roll-over and auto-delete,? and storing logs
outside of the computerized device where they are generated so a
compromise of that device cannot delete the logs. Failing to do so can
result in a situation where the data needed to determine if any type of
breach occurred does not exist.

None of the systems I reviewed, which were primarily Dominion
systems, appeared to implement any of the best practices associated with
maintaining logs. As an example, this meant that when files were deleted
on a Windows system, there was no log entry generated within the
Windows Event Logs; the logs on the system could and were easily rolled
over (meaning data from one time period was overwritten and destroyed
by data from a later time period); and an individual with “administrative
access” to the system had a large window of time to delete the only copy of

the logs.

2 A computer will often limit the amount of data that a log file can store, to
prevent the log file from consuming too much of the computer’s storage.
When the log file reaches the maximum permitted data size, 1t typically “rolls
over’ by automatically deleting the oldest data in the file to make room for a
new entry.

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“incident response” is the formal process of investigation that is
conducted in response to a breach or a suspected breach of a computerized
device or series of computerized devices. It involves evaluating all of the
available data to determine if a breach actually occurred; how the breach
occurred; what happened during the breach; and when possible, who
conducted the breach. Proper incident response is only possible when the
appropriate data exists. Without the appropriate data to review, most
notably log files, it can be impossible to determine conclusively if a breach
even occurred.

“Cybersecurity” is the practice of ensuring the confidentiality,
availability, and integrity of computerized devices and the data that
resides on them. This includes preventing changes being made to the
computer programs or data on a device by any person who is not
authorized to made changes by the owner of the device, and to
detect/remediate any unauthorized changes that are made.

“Application Security” is the area of Cybersecurity that specifically
addresses “source code” and “computer programs’.

“Hacking” is the process by which the misconfiguration of a
“computerized device” or “erroneous code” on the device is exploited to
cause some adverse behavior that impacts the confidentiality, integrity or
availability of the computerized device. This can be performed ethically
with the permission of the computerized device owner, or by a malicious

actor with malicious intent.

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38. “Administrative access” to a computer or computer system means a
person knows the necessary passwords to access critical functions of the
software and make authorized changes to the system or software.
“Administrative access” gives a person control over the computer or
system without needing to hack it to do so.

34. Any person who gains sufficient access to add or update a program on
electronic equipment that is part of an electronic voting system, has the
ability to control the behavior of that equipment — such as the ability to
cause the equipment to change, delete, or fabricate votes.

35. Malicious actors who wish to control the outcome of an election without
regard to the actual votes cast by voters can create and save to the
memory or storage of an electronic device, a malicious program that
instructs the device to report that a particular candidate received a
majority of the votes, or to report that votes cast for one candidate were
instead votes cast for another candidate.

36. Malicious programs can be configured to be extremely subtle choosing
not to alter all votes, or to only alter votes from specific precincts, on
specific times or on specific days. They could even be configured to only be
triggered after a certain type of ballot comes through, or a certain set of
ballots in sequence. These types of subtle triggers would be impossible to
detect in a Logic and Accuracy test.

37. To prevent electronic devices from manipulating votes, the devices
must be absolutely secured against the introduction of any malicious
programs, including programs from the voting machine vendor that could
potentially be built on “malicious code” and therefore are now “malicious

program(s)”.

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This means that voting machine programs must go through the proper
cybersecurity testing and computerized devices must be configured to
Cybersecurity best practices so that access is controlled, systems are up-
to-date with the latest patched versions of computer programs, and all
actions on the system are properly logged so actions on the computerized
device can be validated.

Proper cybersecurity testing includes all voting machine programs
going through regular, independent 3"¢ party source code review as well as
ethical hacking or penetration testing engagements by qualified personnel
where real-world deployments are tested for exploitable security
vulnerabilities. Current vulnerabilities found across voting machine
vendors, as can be seen through evidence referenced in this declaration,
heavily suggest that this practice 1s not happening.

Even in a well-designed and properly secured computer system, the
factor of human error can lead to cybersecurity breaches.

Ultimately it is individual employees or officials who must choose
secure passwords, keep their passwords secret, refrain from activating
malware by opening email attachments or clicking on unsafe internet
links, refrain from connecting computer hardware to portable computer
memory media or computer networks, maintain software up-to-date, and a
host of other mundane cybersecurity practices — including remembering
what cybersecurity practices must be observed.

Experience has shown that humans err on these practices, through
ignorance, forgetfulness, neglect, and even intention, simply because it is

less demanding to ignore the proper procedure.

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Context: Cyber Security Conference Shows Vulnerable Voting

Machines

43. Since 2017, a Cyber Security conference, “DEFCON”, has hosted a
“Voting Machine Hacking Village” where voting machines from major
vendors have been displayed and made available for participants to
attempt to compromise. Conference participants had a maximum of 2.5
calendar days to work with these machines, mixed in with the rest of their
conference activities. A report issued by conference organizers after the
2017 conference stated, “By the end of the conference, every piece of
equipment in the Voting Village was effectively breached in some manner.
Participants with little prior knowledge and only limited tools and
resources were quite capable of undermining the confidentiality, integrity,
and availability of these systems.” A copy of the DEFCON 2017 report is
attached as Exhibit A.

44, The statement “undermining the confidentiality, integrity, and
availability of these systems” means the participants found methods by

which votes could potentially be changed on such systems.

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The DEFCON Report from the Voting Machine Hacking Village from

2018 shows that significant vulnerabilities remained, and that

vulnerabilities that had been reported prior had not been fixed. The

summary of the 2018 report stated,

A voting tabulator that is currently used in 28 states is
vulnerable to be remotely hacked via a network attack. Because
the device in question is a high-speed unit designed to process a
high volume of ballots for an entire county, hacking just one of
these machines could enable an attacker to flip the
Electoral College and determine the outcome ofa
presidential election.

A second critical vulnerability in the same machine was
disclosed to the vendor a decade ago, yet that machine,
which was used into 2016, still contains the flaw.

Another machine used in 18 states was able to be hacked in only
two minutes, while it takes the average voter six minutes to vote.
This indicates one could realistically hack a voting
machine in the polling place on Election Day within the
time it takes to vote.

Hackers had the ability to wirelessly reprogram, via mobile
phone, a type of electronic card used by millions of
Americans to activate the voting terminal to cast their
ballots. This vulnerability could be exploited to take over the
voting machine on which they vote and cast as many votes as the

voter wanted.

A copy of the DEFCON 2018 report is attached as Exhibit B.

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46. The DEFCON 2019 report repeats similar high-level bullets, showing
no noticeable improvements from prior years.:
e Commercially available voting system hardware used in the U.S.
remains vulnerable to attack.
e There is an urgent need for paper ballots and risk-limiting
audits.

e New Ballot Marking Device (BMD) products are vulnerable.
A copy of the DEFCON 2019 report is attached as Exhibit C.

47.  Allthree reports highlight that there are a variety of ways that voting
machines are compromised, even new systems are vulnerable when built,
individuals with limited or no experience were able to compromise these
systems, and those individuals were able to find these vulnerabilities in
three days or less. This suggests that voting machine vendors are not
undergoing the same standard security testing that is common and normal

in the United States, for example, in the financial services industry.

Antrim, MI: Dominion Configuration Allocates Votes to the Wrong

Candidate

48. Antrim County, Michigan initially misreported its vote totals for the
2020 presidential election. Antrim County later issued a revised count
that was dramatically different, with the vote total for one candidate
increasing significantly and the total for another candidate decreasing

significantly.

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In early 2021, the Michigan Secretary of State engaged J. Alex
Halderman, a professor of computer science at the University of Michigan,
to provide a technical explanation of what happened in Antrim. Professor
Halderman’s report? outlines a number of failures in the way the election
was conducted, but specifically highlights some very alarming problems
with the way that Antrim’s electronic Election Management System,
supplied by Dominion Voting Systems, tallies results.

Halderman stated that the Dominion software used numerical values
to identify each candidate on the tabulators, and also used numerical
values to identify the candidates on the Election Management System
(EMS) Server where vote totals are aggregated for the official results.
These numbers are supposed to match so that when the tabulator counts
the votes for Candidate A, those results are attributed to Candidate A on
the EMS Server. Halderman stated that in a number of precincts in
Antrim County, MI the numbers had become misaligned due to improper
device configurations. As a result, candidate Jorgenson’s votes in those
precincts were initially attributed to candidate Trump, Trump’s votes

attributed to candidate Biden, and Biden’s votes marked as undervotes.

3

https://web.archive.org/web/20210327143045/https://content.govdelivery.com/

attachments/MISOS/2021/03/26/file_attachments/1736734/Antrim.pdf

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Halderman attributed this issue to “user error,” since the county clerk
employee creating the configuration files for the tabulators did not follow
Dominion’s recommended procedure for implementing ballot configuration
changes. Specifically, after making a small ballot change in one precinct,
the county employee remade the tabulator configuration files for that one
precinct, but did not remake the configuration files for every other
tabulator in every other precinct. The county employee presumptively
assumed that since nothing changed on the ballots associated with those
precincts, there was no reason to update the configuration files for the
tabulator. However, Halderman’s analysis was that this ballot change
created a mismatch in any precinct that showed up in the Dominion
software after the precinct that had the ballot change, so that votes for
each candidate were misattributed. Halderman viewed this as a “human
error” while acknowledging, “The election software also could have done
more to help election staff avoid making mistakes that could lead to
erroneous results.” 4

It is my professional opinion that Halderman’s statement that more
could have been done by the election software is a gross understatement.
As a comparison, I typically see more validation implemented in
commercial inventory control software. The primary purpose of election
software is to make sure votes for a candidate are properly counted and
attributed to the intended candidate. Failing to do any type of validation
on the importing of results to be sure that the intended candidate receives

the proper tallies at best constitutes gross negligence.

4 J. Alex Halderman, Analysis of the Antrim County, Michigan November
2020 Election Incident at 3 (March 26, 2021) available at
https://web.archive.org/web/202103271438045/https://content. govdelivery.com/

attachments/MISOS/2021/03/26/file_attachments/1736734/Antrim.pdf

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Subsequent analysis of the Dominion system has shown how
exploitable the design flaw identified by Halderman is. Working with
Dominion equipment, expert Jeff Lenberg was able to alter configuration
files for a tabulator or settings on the EMS to intentionally cause the
system to wrongly attribute votes to a favored candidate. In his testing
Lenberg further caused the poll tape to output the manipulated results,
thereby leaving no clear indication anything had been tampered with.

Halderman’s and Lenberg’s work show that to alter election results in
the Dominion system, all that would be required is a small change on the
media used in the tabulator. This could be accomplished through a
malicious program, or by a person with temporary access to these cards.
The only evidence that tampering had occurred would potentially be a
copy of the media used in the tabulator or a full hand count of the ballots
in an affected batch.

Many counties reuse the media utilized for configuring the tabulator
from one election to the next. Such reuse means that at the time of the
next election the evidence of previous tampering would be destroyed.

In Antrim County, MI this problem was identified because the reported
results were so significantly different from the expected results based on
historical trends, prompting an investigation. It is highly likely that this
problem would go undetected in a county where the normal margins
between candidates was less predictable; and it is in fact very likely this
has happened elsewhere and gone undetected. The assumption that the
county employee made in only creating the configuration files for the
tabulator where a change happened is a reasonable assumption to make.
It is unlikely this is the first time someone made this mistake, and yet it is

the first time a mistake was publicly detected.

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Voting Machine Software Fails to Implement Best Practices

57,

I was given access to the Antrim County Dominion election equipment
in connection with post-election litigation for which I provided expert
witness services. After analyzing the equipment, I concluded it exhibited a
large number of failures in implementing secure coding practices,
application security design principles, and cyber security best practices.
Specifically:

a. The Dominion Election Management System software did not follow
application security best practices known for over 15 years, and
widely adopted across industries.

b. Operating System credentials used generic accounts that multiple
people knew and did not change from year to year. These credentials
provided more than enough access and the tooling for any of the
individuals who possessed them to change election results.

c. The systems had not been configured to any type of secure baseline.
Lack of a secure baseline increases the chances the systems could be
compromised and also means that the appropriate logs required to
respond to a suspected breach would not exist on the system,
making it nearly impossible to determine if election results were

tampered with just by looking at the election equipment.

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d. The system had Microsoft SQL Server Management Studio
installed, which allows the direct editing of data in the election
results database. This software is installed separately from
Microsoft SQL Server and is not listed on the Election Assistance
Commission’s list of approved software. It was unclear what
business purpose it could serve on this particular system. The
Dominion software already has capabilities within it that could
handle any normal expected use case for Microsoft SQL Server
Management Studio.

These failings are indicative of an immature cyber security program

that has not implemented the necessary steps to ensure secure software is

created and cannot ensure the integrity of the votes tallied on the systems.

Maricopa County, AZ: Failure to Follow Best Practices & Failure to

Preserve Logs and Data

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The audit of the 2020 election results in Maricopa County, Arizona was
the largest and most comprehensive election audit conducted to date. In
addition to reviewing the actual voting machine systems used during the
election, it involved a full hand-counting of all 2.1 million ballots, and
forensic imaging and a forensic paper analysis of all the ballots. I served
as the project lead who ran this audit.

Maricopa County used electronic election equipment supplied and

supported by Dominion Voting Systems.

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The audit’s findings related to the Dominion electronic equipment used
to case and tabulate ballots in the election included the following:

a. Operating System credentials used generic accounts that multiple

people knew and did not change from year to year. These credentials
provided more than enough access and the tooling for any of the

individuals who possessed them to change election results.

. The systems had not been configured to any type of secure baseline.

Lack of a secure baseline increases the chances the systems could be
compromised and also means that the appropriate logs required to
respond to a suspected breach would not exist on the system,
making it nearly impossible to determine if election results were

tampered with just by looking at the election equipment.

. Computer logs related to the equipment’s performance during the

election were lost, and files were deleted. In most cases it was not
possible to determine who performed the actions because the

required information to do so did not exist.

. Information was withheld by the County and never provided to

allow an analysis of this data. This included routers and log data, in

addition to other requested election equipment.

While the Splunk logs and router data were later reviewed by Special
Master John Shadegg’s team, the scope of their review did not cover the
time period where the audit detected files deleted, nor did it appear the
County stored the necessary net flow data required to make any
determination related to internet connectivity. This did not stop their
report from stating there was no indication of deletion of files or internet
connections. All participants besides Shadegg were prevented from saying

anything about the analysis done due to a non-disclosure agreement.

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The events in Maricopa County illustrate the unsecure practices
surrounding electronic voting machines and voting equipment that are
standard in Arizona and across the country that could result in the
purposeful or accidental altering of election results. In Arizona, as in other
states, after-the-fact review found that generic user accounts were used in
the electronic election equipment, poor passwords were implemented, and
there was insufficient logging to tell what actions had been done and by
whom. Specifically in Arizona, every single Windows account on every
system analyzed had the exact same password, including for users who
could alter results. Election data had been purged and files deleted, and it
was not easily attributable to any individual. This setup would make it
difficult to detect, let alone respond to, any type of election result problems
or mistakes.

While this and other aspects of the audit have been claimed by media
to have been refuted, the rebuttal of Maricopa County’s response has
never been fully addressed. A copy of Maricopa County’s response to the
audit is attached as Exhibit D. The rebuttal to this response can be found
as Exhibit E.

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Oo CO NT DB OO FP WD] HNO

DO RD KR KN BR RN RN Rm wk ee
N UO & WD NYO KF DW ODO fF ANA DA Pe WO NO SY &D

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Williamson County, TN: Insufficient Technical Oversight Over
Voting Machine Code & Changes

65. On November 3, 2021, the federal Election Assistance Commission
(EAC) received a report from the Tennessee Secretary of State related to
an anomaly from the October 26, 2021 municipal elections in Williamson
County, Tennessee. The Tennessee report stated that the close poll reports
from 7 of the 18 ICP tabulators used during the election did not match the
number of ballots scanned. The election results were validated via a hand-
count of ballots, but the EAC launched an investigation into what had
caused the tabulating problem, and later issued a report related to the
investigation.®

66. The equipment used in Williamson County, Tennessee, and
investigated by the EAC was part of the D-Suite 5.5-B system supplied by
Dominion Voting Systems.

67. The EAC report stated that the first step in the investigation was to
validate that the proper version of all files was included on the system.
This same process is typically part of the pre-election certification of the
machines for use in an election. However, even though these systems had
presumptively gone through the certification process, the EAC accredited
voting system vendors Pro V&V and SLI Compliance hired to perform the
analysis determined that two configuration files used by Williamson
County were not the correct versions and were from a prior version. This
was later determined to not be significant for the cause of the issue, but
shows that the certification processes missed identifying differences that it

should have found.

5

https://(www.eac.gov/sites/default/files/voting system/files/EAC Report of Inv
estigation Dominion DSuite 5.5 B.pdf

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Co Oo SN DH OH Fe WY YY

NO vw NO BP KN KD Dow mm a eee
N nA BP WO NYO KH DOD OO TF AND DB Nn BP W YO &- OS

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Pro V&V and SLI Compliance were able to reproduce the erroneous
results and found that the anomaly corresponded with either the error in
the log, “QR code signature mismatch” or “Ballot format or id is
unrecognizable.”

Despite the work being conducted by two EAC accredited vendors, Pro
V&V and SLI Compliance, and with representatives present from
Dominion, the EAC, the Tennessee Secretary of State, and Williamson
County staff, they were unable to determine the cause of this erroneous
behavior.

The manufacturer, Dominion, submitted a Root Cause Analysis to the
EAC stating “erroneous code is present in the EAC certified D-Suite 5.5-B
and D-Suite 5.5-C systems.” Dominion stated that when a certain part of a
QR code was misread, the ICP interpreted the ballot as provisional and
thereafter marked all ballots subsequently scanned as provisional, leaving
these ballots out of the close poll report totals. Dominion’s solution was to
submit revised code that would reset the provisional flag within the
tabulator after a ballot was scanned as provisional, so that subsequent

ballots would not automatically be flagged as provisional.

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Oo CO SI DH OO SP W YH

ND bw KR DN HN PN KNORR RR Rm eRe Re pee
N A FF WO NO KF DOD OBO Oo ST BWDBo WH Fe W NYO KF OS

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A QR code is a defined standard for matrix barcodes which is capable of
storing a significant amount of data within a small amount of space. This
standard is very resilient and has error correction built into the standard’.
Depending on the level of error correction implemented, a QR code can
have from 7% to 30% of the QR code fully obstructed or damaged and the
QR code can still be read properly. This is because a QR code essentially
holds the data in it twice. It is in the QR code once in its normal format,
and one other time as a polynomial representation of the data’. This error
correction is robust enough that even at 7% error correction a QR code
should fail to be read and error out rather than ever have values within it
misread.

Dominion utilizes QR codes on ballots printed out of their ICX Ballot
Marking Device (BMD) to represent all of the choices the voter made. In
some states such as Georgia and Tennessee these ICX BMDs are utilized
by all voters. In other states most voters will fill out a standard bubble fill
ballot by hand and the ICX BMD will only be utilized for accessibility
voters. In all cases the filled out ballot, whether by hand or by the BMD,
will subsequently be fed through the ICP tabulator in order to be official

cast and tallied.

6 https://www.grcode.com/en/about/error correction. html

7 https://blog.qrstuff.com/2011/12/14/qr-code-error-correction

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The QR codes utilized by Dominion utilizes Level M
of error correction, which offers 15% of redundancy.
This can be seen in the photo to the right, which is a
Dominion QR code from a Georgia ballot. The hockey
puck like black box that has been highlighted by a red

box is the indicator that this level of error correction is
in the QR code.

At 15% error correction it would be extremely unlikely for a QR code to
have a value in it misread. Credit cards utilize a single digit in the credit
card number as a checksum to make sure the credit card was read
properly. This is simple, yet sufficient to make sure when you swipe your
credit card it either errors out and needs to be reswiped, or your account is
charged and not someone else’s. The level of validation in a QR code is
significantly more complicated and sophisticated. Dominion’s ICP
tabulators are also fully capable of spitting a ballot back out and forcing
the user to refeed the ballot in the case where something is not read
correctly. As a result, Dominion’s explanation that the QR code was
misread is insufficient to adequately explain what occurred.

Even taking that into the consideration, per the description of the
Engineering Change Order, Dominion’s code change did not do anything to
fix the situation which caused a ballot to be misread. The revised code
simply reset the provisional flag for subsequent ballots so the error code

would not impact everything afterwards

8 https://blog.qrstuff.com/2011/12/14/qr-code-error-correction

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Oo CO HN DH Wn FP WW YO

DO wNO NO KN HN KR KR we
N Wn BP WO NYO KF DTD OBO FH ANA Dn FHP WOW NH YK OD

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The EAC report states, “Modified ICP source code was submitted by
Dominion that resets the provisional flag following each voting session.
The ECO analysis included source code review to confirm the change to
both systems and to ensure no other code is changed.” This appears to
mean that the original ballot that was misread would still be misread and
may be erroneously flagged as provisional, and not counted.

Yet the EAC report clearly states that testing after the change was
implemented showed that the fix resulted in all ballots being properly
counted and no errors in the log: “This software was then tested for
accuracy by processing two thousand ballots printed by an ICX, utilizing
the same election definition used in Williamson County, TN on October 26,
2021. The analysis and testing of the ECOs has demonstrated that the
anomaly was successfully fixed. No instance of the anomaly or the
associated error or warning messages in the ICP audit logs were observed
during the testing.” This either means that ballots that were utilized to
test the fix never would have triggered the error condition in the first
place, or it means that the misreading of a ballot did not impact the ballot
itself but only impacted subsequent ballots.

If ballots were utilized to test the fix that never would have triggered
the error condition, it means that it is unknown if this issue is actually
fixed. More importantly, it suggests either gross technical incompetence by
whoever performed the testing in not realizing that the test case did not
validate the fix; or a knowing and willful misrepresentation to the EAC
that the code changes were validated. In either case, by accepting the fixes
from Dominion as resolving the issue, the EAC demonstrated a lack of
technical competence to properly oversee the necessary actions needed to

ensure the integrity of electronic voting machines.

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Oo CO NT DB nF FP WY YH —

NO bw BD BR WD DR DR eh ak
Nn WA FP WO NO KF DS ODO fF NHI DBD OH FP W YH YK S&S

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79.  Ifballots were in fact used in the test case to validate the fix that would
have created this error condition, but all the results came back properly
and validated that the code change did fix the issue, this would indicate
that misreading of a QR code ONLY impacted subsequent ballots and not
the current ballot being processed. This would be an extremely abnormal
programming error to accidentally occur and highly suggests intentional
malicious code. The source code needs to be thoroughly reviewed by
qualified personnel to determine the origins of this erroneous code and the
reason it was put in place.

80. Insummary, Dominion machines in Williamson County, TN failed to
properly tally votes in a significant way. This ended up in an EAC
investigation where they stated that “erroneous code” was in the Dominion
software that had caused that issue. This same code has been utilized in
elections across the country for quite some time with an unknown impact.
The EAC accepted an explanation from the voting machine Dominion that
doesn’t make technical sense and let the voting machine vendor define the
root cause and create the code to fix the issue. This code was either
insufficiently tested to validate the issue was fixed, or the original code
was a strong indication of a subversion of the voting equipment. In either
case, the EAC demonstrated inadequate oversight to properly ensure the

integrity of votes tallied in electronic voting machines.
The Insufficiency of Air Gaps

81. Itis commonly argued that deficient cyber security practices
concerning electronic election equipment are insignificant because these
systems are “air-gapped” and not connected to any type of external

computer networks.

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Oo C&C SAD DH OD Se W]W NYO

NO dO RO KR DR DR Dee
Nn WT SP WD DY KF§ DD ODO fF NT HD A BP WY NO KS CO

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82. There is substantial evidence that many election systems are not
actually protected by “air-gapping.” In Maricopa County, the analysis of
the equipment revealed significant indications that the Election
Management network had connections to the internet at times.- Both
Dominion? and ES&S Software! advertise that their systems support
modems of various types and modem support is part of Dominion’s
contract for Michigan.!!

83. Even a properly “air-gapped” system is not safe from malicious code
being copied into it. For example, computers in nuclear reactors are air-
gapped to increase their security, yet the Stuxnet malicious code infected
computers in a nuclear reactor in Iran, ultimately causing damage to the
reactor. To do so, the Stuxnet code spread through computers in Iran until
it copied itself to a system connected to a portable USB drive that was
later also used on the nuclear reactor computer network. The Stuxnet code
copied itself onto the USB drive and then onto the nuclear reactor network
computers. Inside the air-gapped network, the Stuxnet code slowed down
the nuclear reactor without causing a nuclear meltdown.

84. The same ora similar technique could be used to compromise “air-
gapped” electronic voting machines, and in fact, electronic voting systems
routinely utilize USB Drives and other portable media to transfer results,

configuration files, and ballot images from one system to the next

9 https://www.michigan. gov/-

/media/Project/Websites/sos/0 1holland/071B7700117 Dominion.pdf

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https://web.archive.org/web/20150920041547/https://sos.idaho.gov/elect/Clerk/
DS200%20Procedures/ESS EVS5000 SOP00 DS200 Operator%20Guide.pdf
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Oo CO S DH OO Be W]W NO

DO DP NO KR DR DNO RO Rm ad
NHN WO FP W NYO KY CO BO FH IN DBO OA Be W NH KF OC

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Conclusions

85. There is an extreme lack of cyber security maturity in the election
software and equipment industry, which has not implemented best
practices that have been known for more than 20 years and have been
adopted and applied in most major industries in the United States.

86. The repetitive nature of severe vulnerabilities detected across multiple
voting machine vendors over many years indicates that proper
cybersecurity testing, such as secure code review and penetration testing
are not being performed on a regular basis by competent personnel, and/or
what is detected is not being remediated. Without proper cybersecurity
testing and the prompt remediation of what is detected it is impossible for
voting machine software to be secure.

87. The problem is further complicated by the fact that many election
workers operating election systems are older)? and have inadequate
technical knowledge, forcing them to fully rely on the voting machine
vendor or their subcontractors to perform the most basic tasks.

a. Maricopa County has stated that it employs two Dominion
individuals full-time in order to run its elections. These individuals
do everything from configuring the elections to making backups and
taking them offsite.

b. Michigan uses a company called Election Source to build its
elections. Local county officials have little understanding of the

machines they use.

12 https://www.eac. gov/documents/2017/11/15/eavs-deep-dive-poll-workers-
and-polling-places

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c. In Antrim County, the county clerk was quick to state the county
had made a mistake and the problem was human error, even though
she could not give any details as to why but merely relied on the
vendor’s analysis.!° The technical explanation eventually provided
by the Secretary of State, written by Professor Halderman, at best
indicated extremely poorly written software.

d. The Williamson County, TN EAC report makes it very clear that the
EAC lacks the needed technical knowledge to fully monitor and
validate that identified issues are properly remediated by voting
machine vendor.

88. Because election abnormalities directly affect partisan political
interests, investigations related to electronic election equipment, in my
experience, rapidly become heated and toxic. This makes it harder to
conduct an adequate investigation, because one side has incentive to keep
the investigation from finding anything. The complexity of the electronic
equipment and software gives interested parties ample opportunity to
obfuscate the investigation.

89. Without an understanding on how computer systems and election
systems work or how to detect unauthorized modification of code on a
system, elected officials, law enforcement officials, and court officials are
not well-equipped to deal with controversies related to electronic election

equipment.

13 https://www.youtube.com/watch?v=S9uMlrnA Vwo

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Co Oo SN DN OH BP WO LY eH

NO NR BD DO DO RD DR meee ea ea ee
NN OA F&F WY NY KY TD OO fF JD DB A BP WW YHPHO YH OC

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90. The end result is that current electronic voting systems (1) are
unsecure and can be compromised by individuals with no experience with
voting equipment with less than three days of work, (2) are built and
deployed without the proper safeguards for accountability to allow a
proper investigation to happen, (8) are difficult to audit after the fact
because they are too complicated for elected officials, law enforcement, and
the courts to easily understand.

91.  Itis my professional opinion, for all of the reasons outlined, it is
impossible for electronic voting machines to be properly secured by the
2022 elections, and that they should not be used. Something so essential to
democracy should not be more complicated than the average American,
law enforcement, and the courts can easily understand and handle ina

timely manner.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on June 7, 2022.

Douglas J Logan

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